        Case 1:25-cv-00015-DKG         Document 2       Filed 01/14/25     Page 1 of 2




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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

ST. LUKE’S HEALTH SYSTEM, LTD.,                    Case No. 1:25-cv-00015-DKG

                   Plaintiff,                      MOTION FOR PRELIMINARY
                                                   INJUNCTION
       v.

RAÚL LABRADOR, Attorney General of the
State of Idaho,

                   Defendant.



       Plaintiff St. Luke’s Health System, Ltd., respectfully moves for a preliminary injunction

against the Idaho Attorney General Raúl Labrador—and his officers, employees, and agents—

prohibiting enforcement of Idaho Code § 18-622 as applied to EMTALA-mandated care. St.
        Case 1:25-cv-00015-DKG            Document 2        Filed 01/14/25       Page 2 of 2




Luke’s has set forth its arguments in support of this motion in the attached memorandum of law

and supporting declaration.

       St. Luke’s further requests that the Court consider as part of the record for this Motion for

Preliminary Injunction the declarations filed in support of the United States’ Motion for Preliminary

Injunction in United States v. Idaho, No. 22-cv-329 (ECF Nos. 17, 86), in keeping with the motion

to consolidate filed herewith by St. Luke’s. See Fed. R. Civ. Pro. 42(a)(3) (allowing for “any other

orders to avoid unnecessary cost or delay” upon consolidation of cases). In the alternative, St. Luke’s

requests that the Court grant leave to file additional declarations in support of the instant Motion.



DATED: January 14, 2025                              STOEL RIVES LLP



                                                     /s/ Wendy J. Olson
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PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION - 2
